 Case 1:19-mj-00969-SJB Document 38 Filed 09/16/20 Page 1 of 3 PageID #: 84



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 UNITED STATES OFAMERICA,

 -against-                                          APPLICATION AND ORDER
                                                    OFEXCLUDABLE DELAY
 BARBARA VALE,
                                                    19-MJ-969
                          Defendant,

        The United States of America and the defendant BARBARA VALE hereby jointly
request that the time period from September 18, 2020 to October 19, 2020 be excluded in
computing the time within which an information or indictment must be filed. The
parties seek the foregoing exclusion of time in order because:
        � they are engaged in plea negotiations, which they believe are likely to result in a
disposition of this case without trial, and they require an exclusion of ti me in order to focus
efforts on plea negotiations without the risk that they would not, despite their diligence, have
reasonable time for effective preparation for trial,


      D       they need additional time to investigate and prepare for trial due to the
complexity of the case,
       D         other:

     This is the seventh application for an order of excludable delay. The
defendant was arrested on October 23, 2019 and released on October 23 2019


      /s/ John   Vagelatos
John Vagelatos
Assistant United States Attorney

For defendanl lo read, review with counsel, and acknowledge:

       I understand that federal law generally provides that I have a right to have formal
charges lodged against me within thirty days of my arrest and a right to a trial on those charges
within seventy days after formal charges have been lodged. I further understand that I do not
have to consent to the exclusion of time sought in this application and that by consenting to
entry of this order, the date on which formal charges must be lodged wi II be delayed and the
date for the commencement of any trial on those charges will likely be delayed as well. I also
understand that if formal charges are not brought against me within the time required by law,
l may seek relief from the court, and that this relief might include dismissal of the complaint
now pending against me
  Case 1:19-mj-00969-SJB Document 38 Filed 09/16/20 Page 2 of 3 PageID #: 85




       I have reviewed this application, as well as the order annexed below, and have discussed
the question of whether I should consent to entry of an order of excludable delay carefully with
my attorney. I consent to the entry of the order voluntarily and of my own free wi11. I have
not been threatened or coerced for my consent.

September / S", 2020
Date                                                BARBARA VALE
                                                    Defendant

For Defendanl 's C ·ounsel to read and acknowledge:

        I certify that I have reviewed this application and the attached order carefully with my
client. I further certify that I have discussed with my client a defendant's nght to speedy
indictment and the question of whether to consent to entry of an order of excludable delay I
am satisfied that my client understands the contents of this application and the attached order,
that my client consents to the entry of the order voluntarily d of his or her own free will, and
that my client has not been threatened or coerced for con




        Upon the joint application of the United States of America and defendant,
BARBARA VALE.,_ and with the express written consent of the defendant, the time
period September 18, 2020 to October 19, 2020 is hereby excluded in computing the
time within which an information or indictment must be filed. as the Court finds that
this exclusion of time serves the ends of justice and outweighs the best interests of the
public and the defendant in a speedy trial because

        D       given the reasonable likelihood that ongoing plea negotiations will result in a
disposition of this case without trial, the exclusion of time will allow all counsel to focus
their efforts on plea negotiations without the risk that they would be dented the reasonable
time necessary for effective preparation for trial, taking into account the exercise of due
diligence.
       D      additional time is needed to prepare for trial due to the complexity of case.
       D      other: given the reasonable likelihood that ongoing negotiations, will
 Case 1:19-mj-00969-SJB Document 38 Filed 09/16/20 Page 3 of 3 PageID #: 86




             result in a disposition of this case without trial, the ends of justice served
             by excluding such time outweigh the best interests of the public and the
             defendant in a speedy trial.


SO ORDERED.
Dated: Brooklyn, New York
       September __15 , 2020                       United States Magistrate Judge
